Case 2:15-ml-02668-PSG-SK Document 1339 Filed 05/15/24 Page 1 of 2 Page ID #:51222



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    7
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   10
                            UNITED STATES DISTRICT COURT
   11
                          CENTRAL DISTRICT OF CALIFORNIA
   12
   13   IN RE: NATIONAL FOOTBALL                  Case No. 2:15-ml-02668-PSG (JEMx)
        LEAGUE’S “SUNDAY TICKET”
   14   ANTITRUST LITIGATION
                                                  NOTICE OF ERRATA AND
   15   THIS DOCUMENT RELATES TO                  APPLICATION TO
        ALL ACTIONS                               PERMANENTLY SEAL
   16                                             REGARDING ECF NO. 1337
   17                                             Judge: Hon. Philip S. Gutierrez
                                                  Pretrial-Conference Date: 5/16/2024
   18                                             Trial Date: 6/5/2024
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    1         On May 14, 2024, at ECF No. 1337, the incorrect document was
    2   inadvertently filed as a Proof of Service. The inadvertently filed document contains
    3   confidential information of another client of the firm Walker Stevens Cannom LLP.
    4   The undersigned respectfully requests that the document at ECF No. 1337 be
    5   permanently sealed from the public record. A corrected Proof of Service has been
    6   filed at ECF No. 1338.
    7         Good cause exists to seal ECF No. 1337 because it does not involve the
    8   parties or issues at issue in this matter. In view of the foregoing, the undersigned
    9   respectfully requests that the document at ECF No. 1337 be removed from the
   10   public docket.
   11
           Dated: May 15, 2024                  Respectfully submitted,
   12
   13                                           By:    /s/ Hannah L. Cannom
                                                       Hannah L. Cannom (SBN 245635)
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